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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       CIVIL DIVISION


ALL FLORIDA SAFETY INSTITUTE, LLC, §
     Plaintiff                     § Case No. 3:21-cv-00650
                                   §
V.                                 §
                                   §
MIKE ALBERT LEASING, INC.          §
DIBIAl MIKE ALBERT FLEET SOLUTIONS,§
     Defendant.                    §


           VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL


         COMES NOW, All Florida Safety Institute, LLC ("AFSI"), Plaintiff in this
action, by and through its attorney, Shannan Collier Stalvey, and respectfully files
this Verified Complaint, as follows:


                                   JURISDICTION AND VENUE


     1. This is an action for damages arising out of a breach of contract between
         Plaintiff, a Florida limited liability company, and Defendant, a Delaware
         corporation.
    2. Federal Courts may hear cases in which a citizen of one State sues a citizen
        of another State and the amount at stake is more than $75,000.
    3. In this case, neither Plaintiff nor Defendant is· a citizen of the same state and
         the total losses, damages, costs, and expenses (not including interest and court

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         costs) in this matter exceed $75,000; therefore, this Court has subject matter
         jurisdiction under 28 U.S.C. § 1332.
     4. This Court has proper venue, because all of the events giving rise to these
         claims arose in the Middle District.


                                  AMOUNT IN CONTROVERSY


     5. This case is based upon an agreement between Plaintiff and Defendant for an
         alleged line of credit to acquire 15 Tesla vehicles and charges and losses
         arising from such agreement in an amount exceeding $75,000 before interest
         and court costs.


                                                   PARTIES


    6. Plaintiff is a limited liability company lawfully formed and operating in the
         State of Florida, and with a principle office located in St. Johns County,
         Florida.
    7. Defendant is a Delaware corporation with a principal and registered agent
         address located in Cincinnati, Ohio.


                                    GENERAL ALLEGATIONS


    8. Plaintiff has satisfied all conditions precedent, or they have been waived.
    9. Plaintiff has hired the undersigned attorney and agrees to pay said attorney a
         fee.

    10. Plaintiff requests a jury trial for all issues so triable.
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     11. At all times material hereto, Defendant was and continues to be an enterprise
         engaging in "interstate commerce" within the meaning of the 18 U.S.C. §10.
     12. In particular, Defendant is in the business of leasing fleet vehicles throughout
         the United States.
     13. At all times relevant to this action, the annual gross sales volume of
         Defendant exceeded $500,000 per year.


                                                     FACTS


     14. Plaintiff reached out to Tesla for quotes and information regarding replacing
         and/or supplementing Plaintiffs fleet with approximately 25 to 30 Tesla
         vehicles (the "Vehicles").
     15. During discussions, Tesla represented that it could immediately provide such
         Vehicles to Plaintiff.
     16. At some point during discussions, Plaintiff expressed its desire to procure a
         line of credit to obtain the Vehicles.
     17. A third party initiated an introduction between an agent of Plaintiff and Lars
         Nielsen, an agent of Defendant.
     18. Mr. Nielsen reached out to Plaintiff, expressed his desire to help Plaintiff
         regarding its "growing fleet of vehicles" and that Defendant may "be able to
         help lower" Plaintiffs costs.
    19. Mr. Nielsen expressly represented that Defendant would provide the alleged
         "line of credit."
    20. In reality, it appears to have been structured in a manner that Defendant
        purchased the Vehicles and then engaged in a form of lease-purchase of the
         same to Plaintiff.
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    21. Believing Defendant to be reputable and to have knowledge of the Vehicles            , ,·
         so desired by Plaintiff, Plaintiff reached out to Defendant to learn the specific
         terms of such transaction.
    22. During discussions with Defendant, Plaintiff recounted its concerns with the
         feasibility of the Vehicles servings its actual needs in the daily driving
         requirements of Plaintiffs business operations.
    23. Defendant represented that the Vehicles to be provided would have greater
         capacity to travel longer distances than previously experienced.
    24. During discussions, Defendant further represented that Tesla was building
         additional express charging stations that would rapidly fully charge a Tesla
         vehicle, so that Plaintiff would not have to have at least a full hour of down-
         time per Vehicle at least once - if not multiple times - throughout the day.
    25. During discussions, Defendant represented that the transaction would allow
         Plaintiff to receive the "Green Tax' Credit," thus offsetting a large portion of
         the investment required to procure the Vehicles.
    26. As a direct result of each of Defendant's representations and warranties, on
         or about June 14, 2019, Plaintiff provided Defendant with a copy of its
         Certificate of Liability Insurance.
    27. Further, on or about August 5, 2019, Plaintiff completed Defendant's Fleet
         Application, applying to receive a new fleet of Tesla vehicles.
    28. Defendant provided Plaintiff with a "Vehicle Quotation "VQ'"' (the "VQ")
         dated September 20, 2019.
    29. According to Plaintiffs records, said VQ was sent to Plaintiff from
         Defendant via DocuSign.



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     30. The VQ identifies Plaintiff as "Lessee" rather than borrower, references a
         Master Lease Agreement 201107 and a Disposal Agreement 201108, neither
         of which was provided to Plaintiff.
     31. The VQ fails to identify a delivery date.
     32. The VQ only references 1 Tesla Vehicle.
     33. The VQ fails to itemize any "miscellaneous charges" of Defendant.
     34. Plaintiff never received a Vehicle Lease Order referenced in the VQ.
     35. Plaintiff never received the Services Agreement or Telematics Agreement
         referenced in the VQ.
     36.Plaintiffwas never provided any written contract for lease or purchase, terms
         of service, itemization of charges, or otherwise.
     37. Based upon the conversation and representations, Plaintiff determined that it
         would be in Plaintiffs best interests to reduce to the number of the Vehicles
         to 15 and to forgo immediate acquisition and delivery of the Vehicles, and
         instead to acquire them in increments and commencing in April 2020.
    38. As delivery was to be postponed until April 2020, the commencement of
         payments thereupon was delayed, as well.
    39. Rather than postpone delivery, Defendant simply "dropped off' of a portion
         of the Vehicles in or about November and December 2019.
    40. Plaintiff believes that it agreed to receive the first 5 Vehicles early, after
         insistence by Defendant to conclude the transaction; however, because
         Defendant left each of the Vehicles at Plaintiffs place of business without bill
         of lading or evidence or acceptance of delivery, Plaintiff is unable to confirm
         the actual dates on which the first 5 Vehicles were so delivered.
    41. Additionally, Defendant began to demand payment for the Vehicles in or
         about October or November, 2019.
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    42. Rather than simply charging what was the understood and agreed-upon
         amount for the Vehicles (which, again, payment for which not proper until
         April 2020), Defendant's invoicing included additional, undefined, and
         unidentified "miscellaneous charges."
    43. Having a new Chief Financial Officer appointed, Plaintiff, via said CFO,
         reached out to Defendant's agent, Keeley Carrick, collections specialist,
         requesting a breakdown of the invoiced amounts.
    44. The primary purpose of the CFO's inquiry was to address the tens of
         thousands of dollars being charging as "miscellaneous charges" on invoicing
         from 2019 and early 2020 for the Vehicles.
    45. Because invoicing was not properly itemized and because Defendant failed
         and refused to provide any explanation for "miscellaneous charges," Plaintiff
         does not know and cannot allege as to what Vehicles Defendant claims said
         charges apply.
    46. Commencing in 2019, Defendant demanded past-due amounts from Plaintiff,
         notwithstanding the agreement to forgo payments until April 2020.
    4 7. Because of Defendants misrepresentations regarding the performance of the
         Vehicles and undisclosed and undefined charges being made, Plaintiff asked
         that the last 10 Vehicles not be delivered.
    48. Notwithstanding its representations to and agreements with Plaintiff,
         Defendant delivered vehicles to Plaintiff prior to and had delivered all 15
         before the end of April 2020.
    49. The last 10 Vehicles delivered by Defendant were not usable nor should
        Defendant have initiated any billing thereupon, as they were not complete.



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     50. Defendant was required to ensure that the Vehicles were usable by Plaintiff
         - they were required to have safety equipment installed and decals placed
         thereupon.
     51. Said safety equipment was not only never installed, it was never delivered to
         Plaintiff for installation.
     52. Because Plaintiff could not legally use the last 10 Vehicles, Plaintiff stored
         the same.
     53. Plaintiff believes that Defendant's urgency in delivery of the .entire 15
         Vehicles relates to the Green Tax Credit.
     54. At a point after delivery of the Vehicles, Defendant represented that Plaintiff
         was required to execute a subsequent document so that Plaintiff could receive
         the "Green Tax Credit" (previously discussed with Plaintiff) in the then-
         current tax year.
     55,. In fact, Defendant took and retained said Green Tax Credit, not allowing
         Plaintiff to receive the benefits thereof.
    56. Defendant delivered at some point between October 2019 and April 2020, the
         following Vehicles:




            01028131         5YJ3E1EAXKF447011
            01028136         5YJ3ElEA1KF436012
            01028146         5YJ3E1EA8KF484123
            01028127         5YJ3ElEA5KF483446
            01028134         5YJ3ElEA9KF482901
            01028135         5YJ3E1EA3KF484322
            01028137         5YJ3E1EA8KF483375
            01028138 5YJ3ElEA4KF435405
            01028139 5YJ3E1EA4KF435551
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             01028140        5YJ3E1EA3KF435413
             01028141        5YJ3ElEA7KF427041
             01028142        5YJ3E1EA9KF484339
             01028143        5YJ3ElEA4KF434884
             01028144        5YJ3El EA5KF484161
             01028145        5YJ3ElEA9KF484258

     57. Because Defendant did not provide any evidence or confirmation of delivery,
         Plaintiff is unable to identify which of the Vehicles was received on what date.
     58. In January, February, and March, 2020, Defendant failed and refused to
         provide breakdown of the charges imposed upon Plaintiff by Defendant and
         for the amounts demanded in invoicing.
     59. Ms. Carrick expressed her concern in electronic mail correspondence, as
         Plaintiffs CFO and Ms. Carrick attempted to resolve the issues and negotiate
         a remedy.
    60. As a direct result of the significant and unsubstantiated charges being
         demanded by Defendant and Ms. Carrick's ongoing correspondence and work
         with Plaintiff, Plaintiff withheld payment in January and February 2020.
    61. Discussions with Ms. Carrick resulted in Plaintiff remitting payments in
         March 2020 to "catch up" all payments to date and engage in efforts to
         amicably resolve what was becoming a contentious issue.
    62. Thereafter, on or about April 1, 2020, Plaintiff remitted the payments
         properly due and owing for April and May 2020.
    63. By the end of April 2020, Defendant was demanding payment of over
         $86,000 on its untimely and unsubstantiated invoicing for the Vehicles.
    64. Plaintiff repeatedly expressed to Defendant that it required a complete
         accounting and breakdown of the charges demanded, with which request
        Defendant has yet to comply.
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     65. In or about March 2020, the Governor of the State of Florida, by Executive
         Emergency Order, demanded that non-essential businesses close operations
         and initiated severe restrictions on businesses which prevented Plaintiff from.
         engaging in any operations.
     66. Throughout March, April, and May 2020, Plaintiff was not operational.
     67. Plaintiff reached out to its creditors and provided notice of the conditions
         imposed upon Plaintiff, for which each creditor, other than Defendant,
         provided accom.m.odations.
     68. As Defendant failed and refused to respond to Plaintiffs request for
         allowances during the Emergency Order, Plaintiff repeatedly contacted, left
         messages for, and reached out to Defendant.
     69. Plaintiff continued to attempt to work with Defendant, in an effort to remedy
         the      ongomg         multitude         of     problems   ansmg   from.   Defendant's
         misrepresentations so made to Plaintiff, to no avail.
     70. Plaintiff further learned that the 10 incomplete Vehicles could not be made
         operational for Plaintiffs purposes, as the safety equipment is manufactured
         in and delivered from. Asia, and that such safety equipment still cannot be
         procured as of the date of this filing.
    71. Plaintiffs President, Mark Allen, has been recognized as one of the premier
         new and used vehicle experts in the United States, including knowledge of
         wholesale values and retail sales and operations.
    72. Using said knowledge, in the sum.mer of 2020, Plaintiff identified and
         negotiated with a third party who offered to purchase the 10 incomplete
         Vehicles from. Plaintiff at a price which would offset the balance properly due
         Defendant.
    73. Plaintiff repeatedly attempted to procure Defendant's consent.
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    74. Both Plaintiff and the third party purchaser repeatedly attempted to procure
         the pay-off amount applicable to the 10 incomplete Vehicles from Defendant,
         to no avail.
     75. On or about October 14, 2020, Ms. Carrick acknowledged Plaintiff's
         intention to sell the 10 incomplete Vehicles and requested identification of the
         same, to which Plaintiff replied virtually immediately.
    76. Eventually, Defendant informed Plaintiff that Defendant had identified one
         or more purchasers of the 10 incomplete Vehicles who would remit payment
         greater than that promised by the third party to Plaintiff.
    77. In direct reliance upon Defendant's statements, Plaintiff returned the 10
         incomplete Vehicles to Defendant for sale in or about November 2020.
    78. Mr. Nielsen, remained in text and electronic mail contact with agents for
         Plaintiff throughout 2019 and 2020, during which time he acknowledged
         Plaintiff's inability to use the Vehicles, Plaintiff's storage of the Vehicles, and
         Defendant's agreement to recovery the 10 incomplete Vehicles - each without
         issue or penalty charge.
    79. Similarly, Ms. Carrick acknowledged in writing Plaintiff's intention to return
         the 10 incomplete Vehicles, agreed to such return of the 10 incomplete
         Vehicles, and requested information regarding the location of the same.
    80. Recent history clearly reflects that, especially since the Covid-19 outbreak,
         Tesla vehicles commensurate to the Vehicles, although not operational for
         Plaintiff's purposes, sell for approximately 100 to 120% over list price.
    81. Rather than sell for a greater amount to said predetermined purchasers, it is
         believed that Defendant sent the 10 incomplete Vehicles to auction, at which
         time the sale resulted in a substantial loss and after which time Defendant

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         commenced pursuit against Plaintiff for the difference, plus additional costs
         and expenses.
     82. Records indicate that Defendant has further charged Plaintiff for costs and
         expenses not otherwise disclosed.
     83. In or about May and June, 2021, Plaintiff placed each of the remaining 5
         Vehicles in storage until reasonable resolution could be reached with
         Defendant.
     84. Rather than discuss or disclose the information requested, Defendant sought
         repossession of the Vehicles.
     85. During the repossession of said Vehicles, Defendant's agent stole a licensed,
         titled trailer owned by Plaintiff, notwithstanding said agent's knowledge of its
         ownership; and damaged another vehicle owned by an individual.
     86. During the repossession of said Vehicles, Defendant's agents expressed to
         Plaintiff that they would return Plaintiffs trailer if Plaintiff surrendered the
         remaining Vehicles.
    87. Defendant has further refused to cooperate with Plaintiff, resulting in Plaintiff
         incurring substant.ial cost, expenses, and legal fees and in being forced to
         allocate time to addressing Defendant's improper acts.


                            COUNT I - BREACH OF CONTRACT


    88. Plaintiff hereby incorporated paragraphs 1 through 87 as if fully restated
         herein.
    89. After        extensive       negotiations         and   after   Defendant   confirmed   its
         representations and warranties to Plaintiff, Defendant set forth its offer to
        provide Plaintiff with a line of credit to acquire the Vehicles.
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      90. Plaintiff agreed to what it understood was a line of credit from Defendant,
          which line of credit was not reduced to a writing produced to Plaintiff.
      91. The parties had the capacity to enter into their agreement, which terms were
          legal and binding upon each.
      92. In direct reliance upon the actual representations, promises, and covenants
          expressed by Defendant directly to Plaintiff, Plaintiff took possession of the
          Vehicles prior to the agreed-upon dates.
      93. In direct reliance upon the actual representations, promises, and covenants
          expressed by Defendant directly to Plaintiff, Plaintiff commenced payment
          for the Vehicles prior to the agreed-upon dates.
     94. At all times in their relationship, Defendant had a duty to act reasonably,
          responsibly, and professionally in the performance of its services to Plaintiff.
     95. Subsequent to Plaintiff's reliance upon the representations, promises, and
          covenants expressed by Defendant, Defendant acted in contravention thereto.
     96. Notwithstanding issuance from Plaintiff and from third parties of notice to
          Defendant of the outstanding issues, Defendant failed to respond to Plaintiff
          and said third parties in a timely manner (and still have not provided such
          information relating to the issues as of the date of this filing).
     97. Notwithstanding issuance from Plaintiff of notice to Defendant of
          Defendant's improper acts, Defendant failed to cure the same.
     98. Notwithstanding issuance from Plaintiff of notice to Defendant of
          Defendant's improper acts, Defendant continues to seek payment from
          Plaintiff of amounts allegedly owed to Defendant, but to which Plaintiff
          neither contracted nor agreed.
     99. Notwithstanding issuance from Plaintiff of notice to Defendant of
          Defendant's improper acts, Defendant continues to seek payment from
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         Plaintiff of amounts allegedly owed to Defendant, but for which Defendant
         will not provide any basis.
     I 00.         Defendant has and continues to act in a manner contrary to the terms
         of their agreement and of the representations, warranties, and promises made
         by Defendant to Plaintiff.
     101.          As a direct result of Defendant's multiple and ongoing breaches of
         contract, Plaintiff has incurred calculable losses and damages.
     102.          The acts of the parties bound them to a contract under Title XXXIX of
         the Florida Statutes.
     103.          As Defendant made multiple representations, warranties, and promises
         and failed to comply with the same; and as such acts and failures to act have
         resulted in damage to Plaintiff, Defendant has committed a breach of contract
         under Title XXXIX of the Florida Statutes.
     104.          As Defendant breached its contract with Plaintiff, Defendant is liable
         to Plaintiff for actual damages due thereunder (Florida Statute Title XXXIX).


   COUNT II - BREACH OF DUTY, GOOD FAITH AND FAIR DEALING

    105.           Plaintiff incorporates paragraphs 1 through 104 as though fully set
         forth herein.
    106.          After Plaintiff executed Defendant's Contract, the parties were bound
         by a contract.
    107.          In the performance of its duties under the Contract, Defendant had a
         duty of good faith and fair dealing. See Florida Statute Section 671.203




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     108.          By causing Plaintiff extensive inconvenience, loss of revenue, and
         additional costs, expenses, and attorney's fees, Defendant failed to act with
         good faith and fair dealing.
     109.          By continuing to charge Plaintiff for amounts not rightfully due and
         owing under their agreement, Defendant has failed to act with good faith and
         fair dealing.
     110.          By continuing to pursue collection against Plaintiff for amounts
         allegedly due under the agreement, when Defendant has failed to fully ~r
         properly act under the agreement, Defendant has failed to act with good faith
         and fair dealing.
     111.          As a direct result of Defendant's breach of good faith and fair dealing,
         Plaintiff has incurred calculable losses and damages.


                       COUNT III - FRAUDULENT INDUCEMENT


     112.          Plaintiff incorporates paragraphs 1 through 111 as though fully set
         forth herein.
     113.          Defendant knowingly and purposely induced Plaintiff to enter into an
         agreement with Defendant, knowing that the Vehicles would not fulfil the
         minimum requirements set out by Plaintiff.
    114.          Defendant knowingly and purposely induced Plaintiff to enter into an
         agreement with Defendant, knowing that the requirement of establishing
         charging stations for the Vehicles would not be met by Defendant or a third
         party.



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     115.          Defendant knowingly and purposely induced Plaintiff to enter into an
         agreement with Defendant, knowing that Defendant intended to retain the
         Green Tax Credit.
     116.          Defendant knowingly and purposely induced Plaintiff to enter into an
         agreement with Defendant knowing that it would demand payment thereunder
         prior to the agreed upon date of April 2020.
     117.          Defendant knowingly and purposely induced Plaintiff to surrender the
         Vehicles for sale by Defendant, and represented that Plaintiff would incur no
         additional costs or expenses for such surrender.
     118.          Defendant knowingly and purposely induced Plaintiff to surrender the
         Vehicles for sale by Defendant, even though Defendant intended to sell the
         same in auction at a sale price substantially less than that already promised to
         Plaintiff by a third party.
     119.          Defendant knowingly and purposely. induced Plaintiff to surrender the
         Vehicles for sale by Defendant, even though Defendant intended to charge
         Plaintiff additional fees and costs arising therefrom.
     120.          Defendant's acts arise to the level of a scheme to defraud Plaintiff, an
         outright lie, and/or misrepresentation and/or omission sufficient to mislead
         Plaintiff into believing something other than what was represented to Plaintiff.
     121.          Defendant's intentional acts have resulted in calculable damages to
         Plaintiff.
     122.          Defendant's acts knowingly and purposely resulted in detrimental
         reliance by Plaintiff, resulting in damages to Plaintiff, equating to a Fraud.
    123.          According to Florida Statutes Section 672. 721, Plaintiff has the right
         to recovery from Defendant of all amounts and to receive all remedies
         available as are for a non-fraudulent breach by Defendant; and Plaintiffs
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          return of the Vehicles does not bar nor is deemed to be inconsistent with
          Plaintiffs claim for damages or other remedy.


                         COUNT IV - FRUSTRATION OF PURPOSE


      124.         Plaintiff incorporates paragraphs 1 through 123 as though fully set forth
          herein.
      125.         Defendant knowingly and repeatedly made representations that each of
          the prerequisites of Plaintiff under the agreement was accepted by Defendant.
      126.         Defendant knowingly and repeatedly made representations that each of
          the prerequisites of Plaintiff under the agreement was to be fulfilled by
          Defendant.
      127.         Defendant knowingly and repeatedly made representations that each of
          the subsequent requests of Plaintiff under the agreement was accepted by
          Defendant.
      128.         After entering into an agreement with Defendant, Tesla failed to initiate
          the installation of booster charging stations, as Defendant promised,
          preventing the Vehicles from performing as required by Plaintiff.
      129.         By failing to travel over 250 miles prior to requiring charging for a
          minimum of time of one hour, the Vehicles are worthless to Plaintiff.
     130.          Plaintiff clearly conveyed that the Vehicles must travel at least 300
          miles prior to requiring additional charge.
     131.          Defendant expressly conveyed that the installation of the booster
          charging stations would satisfy this requirement.
     132.          The occurrence of COVID-19, the suspension of the marketplace, and
         the Emergency Order were all completely unforeseeable.
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     133.          If Defendant was aware of the fact that the booster charging stations
         were not to be installed, then the event would not be unforeseeable, but would
         instead qualify as fraudulent inducement.
     134.          The failure of the Vehicles to travel at least 300 miles per charge is not
         a matter of expense but a matter of one of the fundamental requirements of
         Plaintiff conveyed to Defendant prior to the parties agreement.
     135.          As the booster charging stations were not installed and as the Vehicles
         are unable to travel over 250 miles per charge, Plaintiff has experienced a
         frustrated purpose which is so fundamental and essential to the Contract that,
         without it, the parties would have never entered into their transaction in the
         first place, making the agreement voidable.
     13 6.         Defendant's acts and failures to act prevented Plaintiff from satisfying
         Plaintiffs obligations under the agreement.
     13 7.        Plaintiff has incurred substantial monetary damages as a result of
         Defendant's improper acts and omissions.
     13 8.        Plaintiff has incurred substantial damage to its reputation as a direct
         result of Defendant's improper acts and omissions.
     139.         Plaintiff should be excused from any claims of breach of contract and
         default thereunder based upon Defendant's acts and omissions.


                    COUNT V - TORITOUS INTERFERENCE WITH

                              CONTRACTUAL RELATIONSHIPS

    140.          Plaintiff incorporates paragraphs 1 through 139 as though fully set forth
         herein.


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     141.         Defendant failed and refused to provide both Plaintiff and a third party
         with payoff information for the Vehicles.
     142.         Defendant misinformed Plaintiff that it would sell the Vehicles at a rate
         notably greater than that promised to Plaintiff from the third party.
     143.         Defendant further misrepresented that Defendant would not charge
         Plaintiff additional fees, costs, or expenses in recovering the Vehicles.
     144.         In direct reliance upon Defendant's representations and promises,
         Plaintiff surrendered 10 of the Vehicles to Defendant.
     145.         Rather than sell the Vehicles for $40,000 each, Defendant took them to
         auction, where they resulted in a nominal recovery.
     146.         Had Defendant not made such misrepresentations, Plaintiff would have
         sold the Vehicles to the third party.
     147.         Had Defendant provided Plaintiff or the third party with the payoff
         information requested, Plaintiff would have sold the Vehicles to the third
         party.
     148.         Defendant's acts and failures to act rise to the level of intentional
         tortious interference with business relations between Plaintiff and the third
         party.
    149.          Defendant's tortious interference with business relations gives Plaintiff
         the right to remedy therefore and recovery arising therefrom.


                            COUNT VI - UNJUST ENRICHMENT


    150.          Plaintiff incorporates paragraphs 1 through 149 as though fully set
         forth herein.


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      151.         Defendant induced Plaintiff to take possession of the Vehicles, which
          did not confirm to the standards represented by Defendant.
      152.         Defendant then prevented Plaintiff from effectuating a sale of the
          Vehicles to a third party, which would have garnered Plaintiff proceeds that
          would have been greater than the actual balance owed by Plaintiff to
          Defendant.
      153.         Rather than cooperate with Plaintiff, provide payoff amounts for the
          Vehicles, and allow such sale, Defendant misrepresented its ability to sell the
          Vehicles for a price greater than that offered to Plaintiff from the third party.
      154.·        Rather than cooperate with Plaintiff, provide payoff amounts for the
          Vehicles, and allow such sale, Defendant misrepresented to Plaintiff that
          Defendant did not intend to charge Plaintiff for additional charges or expenses
          arising from such surrender of the Vehicles to Defendant.
      155.         Defendant sold the Vehicles, retained the Green Tax Credit, retained
          the funds derived from the sale of the Vehicles, and is attempting to charge
          Plaintiff for the difference alleged owed for the Vehicles.
      156.         Defendant's acts, if permitted, would result in substantial unjust
          enrichment to Defendant, for which Plaintiff has rights of recovery.


                                 COUNT VII - UNCLEAN HANDS


     157.          Defendants incorporate paragraphs 1 through 156 as though fully set
          forth herein.
     158.          The parties negotiated the terms· of their agreement, but proceeded
          under terms and conditions modified without notice to Plaintiff by Defendant.


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     159.         Relying upon Defendant's representations, warranties, statements, and
         covenants, Plaintiff accepted delivery of the Vehicles.
     160.          Relying upon Defendant's representations, warranties, statements, and
         covenants, Plaintiff remitted payment for such Vehicles.
     161.         Relying upon Defendant's representations, warranties, statements, and
         covenants, Plaintiff returned possession of the Vehicles, rather than sell them
         to a third party for an amount greater than the debt owed to Defendant.
     162.         Defendant engaged in multiple and repeated breaches of contract,
         tortious interference with contractual relations, and violations of the
         agreement, causing Plaintiff to incur calculable costs and expenses, and are
         acting in bath faith and with stubborn litigiousness.
     163.         As a direct result of each of Defendant's improper acts and omissions,
         Plaintiff has been forced to incur substantial and definable costs and expenses
         in mitigating and addressing each of Defendant's improper acts, each to be
         disclosed and proven at Trial, for which Defendant is liable to Plaintiff for
         damages, costs and expenses and should not be permitted recovery against
         Plaintiff for any amounts allegedly owed under the agreement or otherwise.


                        COUNT IX - STUBBORN LITIGIOUSNESS


    164.          Plaintiff incorporates paragraphs 1 through 163 as though fully set forth
         herein.
    165.          The parties negotiated the terms of their agreement.
    166.          Relying upon Defendant's representations, warranties, statements, and
         covenants, Plaintiff proceeded under such terms.
    167.          Defendant engaged in acts performed purposely and knowingly.
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     168.         Defendant engaged in acts that are improper and wrongful without
         privilege.
     169.         Defendant engaged in acts and omissions with malice and the intent to
         mJure.
     170.         Defendant's acts and omissions are breaches of contract, fraudulent,
         and/or rise to tortious interference with business relationships.
     171.         As a direct result of Defendant's improper acts and representations
         Plaintiff has incurred calculable losses and damages, the amount of which
         shall be disclosed and proven at Trial.
     172.         Plaintiff has repeatedly attempted amicable resolution of the
         outstanding issues; however, Defendant has continuously and repeatedly
         taken steps so as to create additional costs and expenses and prevent Plaintiff
         and Defendant from resolving the matters herein addressed.
     173.         Defendant is acting with stubborn litigiousness giving nse to the
         recovery of damages.


                                              CONCLUSION


    174.          Each of Defendant's acts was performed purposely and knowingly.
    175.          Each of Defendant's acts was improper and wrongful without privilege.
    176.          Defendant's acts and omissions were performed with malice and the
         intent to injure.
    177.          Defendant's acts and omissions are breaches of contract, fraudulent,
         and/or tortious interference with business relationships.



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     178.         As a direct result of Defendant's improper acts and representations
         Plaintiff has incurred calculable losses and damages, the amount of which
        .shall be disclosed and proven at Trial.
     179.         As a direct result of Defendant's improper acts and representations
         Plaintiff continues to incur losses and damages which are currently
         incalculable.
     180.         As a direct result of Defendant's multitude of improper acts and
         omissions, Plaintiff has been forced to incur substantial and definable
         damages, costs, and expenses in addressing the same, to be disclosed and
         proven at Trial, for which Defendant is liable to Plaintiff.


                                            RELIEF SOUGHT


         WHEREFORE, Plaintiff requests judgment against Plaintiffs for Breach of
 Contract, Fraud, Tortious Interference with Business Relations, Stubborn                    ...
 Litigiousness, and Unclean Hands, each in an amount to be proven at Trial, plus
 statutory interest thereupon from January 1, 2020, and all court costs, attorneys' fees,
 and expenses incurred by Plaintiff in this matter; and
         WHEREFORE, Plaintiff prays for any and all additional relief this Court
 deems just and proper.


                               CERTIFICATION AND CLOSING


         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
best of my knowledge, information, and belief that this complaint: (1) is not being
presented for an improper purpose, such as to harass, cause unnecessary delay, or
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 needlessly increase the cost of litigation; (2) is supported by existing law or by a
 non-frivolous argument for extending, modifying, or reversing existing law; (3) the
 factual contentions have evidenti ary support or, if specifically so identified, will
 likely have evidentiary support after a reasonable opportunity for further
 investigation or discovery; and (4) the complaint otherwise complies with the
 requirements of Rule 11.


         This the 28th day of June, 2021.

 By: /Shannan Collier Stalvey/
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